     Case:23-00462-ESL11 Doc#:96 Filed:06/12/23 Entered:06/12/23 10:12:21     Desc: Main
                                Document Page 1 of 1


 1                      IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
       IN RE:                                  CASE NO. 23-00462-ESL11
 4     AZURE DEVELOPMENT INC                   Chapter 11

 5

 6

 7
                     Debtor(s)                      FILED & ENTERED ON JUN/12/2023
 8

 9
                                            ORDER
10
            The joint motion filed between Debtor and Triangle Cayman Asset Company
11
      requesting continuance of hearing on motion for relief from automatic stay
12
      (Docket Entry #95) is hereby granted. The hearing on the motion for relief from
13
      the automatic stay is continued without a date pending a decision on the motion
14
      to dismiss filed by Triangle Cayman Asset Company.
15
            IT IS SO ORDERED.
16
            In San Juan, Puerto Rico, this 12 day of June, 2023.
17

18

19

20

21

22

23

24

25

26

27

28

29

30

31

32
